    Case 4:22-cr-00612 Document 310-1 Filed on 06/16/23 in TXSD Page 1 of 1




                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

UNITED STATES OF AMERICA                  §
                                          §
       v.                                 §          Case No. 4:22-cr-612
                                          §
CONSTANTINESCU, et al.                    §          The Honorable Andrew S. Hanen
                                          §
       Defendants.                        §


                                    [Proposed] ORDER

       Upon consideration of Defendant Constantinescu’s Motion to Compel (ECF No. 286) and

the United States’ response, the Motion is DENIED.


       It is so ORDERED at Houston, Texas on this ___ day of _____________, 2023.




                                            ________________________________
                                                   ANDREW S. HANEN
                                            UNITED STATES DISTRICT JUDGE
